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                Exhibit D
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Whois Record on Jul 29, 2020
Domain Name: personanutrition.com
Registry Domain ID: 187599768_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.comlaude.com
Registrar URL: https://www.comlaude.com
Updated Date: 2020-07-29T07:00:54Z
Creation Date: 2005-07-22T17:23:05Z
Registrar Registration Expiration Date: 2022-07-22T00:00:00Z
Registrar: NOM-IQ Ltd dba Com Laude
Registrar IANA ID: 470
Domain Status: clientDeleteProhibited https://www.icann.org/epp#clientDeleteProhibited
Domain Status: clientTransferProhibited https://www.icann.org/epp#clientTransferProhibited
Domain Status: clientUpdateProhibited https://www.icann.org/epp#clientUpdateProhibited
Domain Status: transferPeriod https://www.icann.org/epp#transferPeriod
Registry Registrant ID: REDACTED FOR PRIVACY
Registrant Name: REDACTED FOR PRIVACY
Registrant Organization: Societe des Produits Nestle S.A.
Registrant Street: REDACTED FOR PRIVACY
Registrant City: REDACTED FOR PRIVACY
Registrant State/Province: Vaud
Registrant Postal Code: REDACTED FOR PRIVACY
Registrant Country: CH
Registrant Phone: REDACTED FOR PRIVACY
Registrant Phone Ext: REDACTED FOR PRIVACY
Registrant Fax: REDACTED FOR PRIVACY
Registrant Fax Ext: REDACTED FOR PRIVACY
Registrant Email: personanutrition.com-Registrant@anonymised.email
Registry Admin ID: REDACTED FOR PRIVACY
Admin Name: REDACTED FOR PRIVACY
Admin Organization: REDACTED FOR PRIVACY
Admin Street: REDACTED FOR PRIVACY
Admin City: REDACTED FOR PRIVACY
Admin State/Province: REDACTED FOR PRIVACY
Admin Postal Code: REDACTED FOR PRIVACY
Admin Country: REDACTED FOR PRIVACY
Admin Phone: REDACTED FOR PRIVACY
Admin Phone Ext: REDACTED FOR PRIVACY
Admin Fax: REDACTED FOR PRIVACY
Admin Fax Ext: REDACTED FOR PRIVACY
Admin Email: personanutrition.com-Admin@anonymised.email
Registry Tech ID: REDACTED FOR PRIVACY
Tech Name: REDACTED FOR PRIVACY
Tech Organization: REDACTED FOR PRIVACY
Tech Street: REDACTED FOR PRIVACY
Tech City: REDACTED FOR PRIVACY
Tech State/Province: REDACTED FOR PRIVACY
Tech Postal Code: REDACTED FOR PRIVACY
Tech Country: REDACTED FOR PRIVACY
Tech Phone: REDACTED FOR PRIVACY
Tech Phone Ext: REDACTED FOR PRIVACY
Tech Fax: REDACTED FOR PRIVACY
Tech Fax Ext: REDACTED FOR PRIVACY
Tech Email: personanutrition.com-Tech@anonymised.email
Name Server: ctrdns1.nestle.com                                              Screenshot taken Aug 16, 2019
Name Server: eurdns1.nestle.com
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Name Server: amsdns1.nestle.com
Name Server: aoadns1.nestle.com
DNSSEC: Unsigned Delegation
Registrar Abuse Contact Email: abuse@comlaude.com
Registrar Abuse Contact Phone: +44.2074218250
URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/

For more information on Whois status codes, please visit https://www.icann.org/resources/pages/epp-status-codes-2014-06




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Whois Record on Jul 27, 2020
Domain Name: personanutrition.com
Registry Domain ID: 187599768_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.godaddy.com
Registrar URL: http://www.godaddy.com
Updated Date: 2019-10-28T15:27:37Z
Creation Date: 2005-07-22T17:23:05Z
Registrar Registration Expiration Date: 2021-07-22T17:23:05Z
Registrar: GoDaddy.com, LLC
Registrar IANA ID: 146
Registrar Abuse Contact Email: abuse@godaddy.com
Registrar Abuse Contact Phone: +1.4806242505
Domain Status: ok http://www.icann.org/epp#ok
Registrant Organization: Vitamin Packs Inc
Registrant State/Province: Washington
Registrant Country: US
Registrant Email: Select Contact Domain Holder link at https://www.godaddy.com/whois/results.aspx?domain=personanutriti
Admin Email: Select Contact Domain Holder link at https://www.godaddy.com/whois/results.aspx?domain=personanutrition.co
Tech Email: Select Contact Domain Holder link at https://www.godaddy.com/whois/results.aspx?domain=personanutrition.com
Name Server: NS1.WOWRACK.COM
Name Server: NS2.WOWRACK.COM
DNSSEC: unsigned
URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/




                                                                                Screenshot taken Aug 16, 2019

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